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3                               UNITED STATES DISTRICT COURT

4                                       DISTRICT OF NEVADA

5                                                 ***

6      LUIS A. HIDALGO,                                 Case No. 3:16-cv-00618-MMD-WGC

7                                       Petitioner,                     ORDER
              v.
8
       ROBERT LEGRAND, et al.,
9
                                    Respondents.
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11           This is a habeas corpus action under 28 U.S.C. § 2254. A third amended petition

12    was due on August 7, 2020. On July 31, 2020, Petitioner Luis Hidalgo filed a motion for

13    stay and abeyance (ECF No. 63 (“Stay Motion”)). Respondents oppose the Stay Motion.

14    (ECF No. 64.) Petitioner filed a reply. (ECF No. 65 (“Reply”).) In the Reply, Petitioner

15    proposes an alternative request for an extension of time to file a third amended petition.

16    The Court grants Petitioner this alternative request.

17           Timothy Hadland was murdered on May 19, 2005. The murder resulted in two state

18    criminal cases with six defendants. Four of the six defendants—including Petitioner—

19    have filed habeas corpus petitions under 28 U.S.C. § 2254. Petitioner was appointed

20    counsel (“federal counsel”) in this case. (ECF No. 58.)

21           Petitioner states that he filed in the state district court a motion to modify his

22    sentence and a motion for appointment of counsel. (ECF Nos. 63 at 3, 63-1.) Petitioner

23    was appointed counsel (“state counsel”) in his state action. (ECF No. 63 at 4.) Petitioner’s

24    federal and state counsel arranged for Petitioner’s federal counsel to prepare “all actual

25    and/or potential” unexhausted claims, and then Petitioner’s state counsel would include

26    those claims in a pending supplement in the state action. (Id.) The supplement had to be

27    filed by October 30, 2020. (Id. at 4-5.) Petitioner moved to stay this action while Petitioner

28    exhausts claims in state court. (Id.)
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1            Petitioner filed in state court his motion to modify his sentence on July 31, 2020.

2     (Id. at 3.) The Court has checked the online docket of the state-court case.1 The most

3     recent docket entry, on October 27, 2020, is a stipulation and order for a briefing schedule.

4     It does not appear that Petitioner’s state counsel has yet filed the supplement.

5            What Petitioner initially proposes in the Stay Motion is a combination of two

6     situations the Court encounters in habeas corpus cases. First, Petitioner might file an

7     amended petition and simultaneously seek leave to file a further amended petition with a

8     waiver of LR 15-1's requirement to attach a proposed amended petition. Second,

9     Petitioner might ask the Court to stay the action because post-conviction proceedings

10    occurring in state court would exhaust the grounds in this case. The Court has granted

11    both types of requests in different cases, or at different times in the same case.

12           By combining these two types of requests, Petitioner has created a motion to stay

13    the case that is premature. Petitioner is asking the Court to stay this action based upon a

14    not-yet-filed petition in state court that might exhaust claims in a not-yet-filed third

15    amended petition with this Court. The Court does not have the documents to determine

16    whether a stay is appropriate, and it appears that those documents do not yet exist.

17           However, Petitioner’s Reply proposes an alternative whereby Petitioner is given

18    an extension to December 4, 2020 to file a third amended petition with the Court. The

19    extension would allow Petitioner to file the state-court supplement and then file the third

20    amended petition with the new claims with this Court. Although the state-court

21    supplement does not appear to have been filed by its initial due date, this is the better

22    route in which to proceed. The third amended petition would make Petitioner’s claims

23    certain. That certainty is lacking with the initial request to stay the case.

24           It is therefore ordered that Petitioner's motion for stay and abeyance (ECF No. 63)

25    is denied in part with respect to staying the case and granted in part with respect to an

26    extension of time to file the third amended petition. Petitioner will have until December 4,

27
             1Petitioner’s state court action, State v. Hidalgo, Case No. 05C212667-2, can be
28    located online at https://www.clarkcountycourts.us. Docket report generated on
      November 3, 2020.
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1     2020 to file Petitioner’s third amended petition. The scheduling order of September 6,

2     2019 (ECF No. 58) otherwise remains in effect.

3           DATED THIS 9th Day of November 2020.

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7                                             MIRANDA M. DU
                                              CHIEF UNITED STATES DISTRICT JUDGE
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